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                        UNITED STATES DISTRICT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
     v.                             )      Case No. 21-MJ-296 (GMH)
                                    )
CHRISTOPHER WORRELL,                )
                                    )
Defendant.                          )


REPLY TO GOVERNMENT’S MEMORANDUM IN OPPOSITION TO EMERGENCY
                MOTION FOR RECONSIDERATION




                             John M. Pierce (PHV admitted)
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                             Attorneys for Defendant Christopher Worrell
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       Defendant Christopher Worrell, by and through his counsel, tenders this reply in response

to Chief Judge Beryl A. Howell’s Minute Order which instructed Mr. Worrell to explain “his

failure to comply with this Court's April 1, 2021 minute order by 12:00 PM today as directed, see

Min. Order (Apr. 1, 2021)”. See Min. Order (April 5, 2021).

       Counsel for Mr. Worrell apologizes and asks for leave of this Court for failure to comply

with the twelve pm deadline set in the Minute Order on April 1. Counsel received new and relevant

information regarding Mr. Worrell’s status at 10:05 am, April 5, 2021 which required edits to Mr.

Worrell’s reply, causing the failure to meet the deadline.

       Specifically, Mr. Worrell had been removed from the Charlotte County Jail en route to a

facility in Washington D.C. This new information rendered statements of fact in Mr. Worrell’s

reply no longer true and accurate to the best of Counsel’s abilities, thus revisions were necessary

to state the facts as accurate as possible before the Court. At the same time, Counsel for Mr.

Worrell was in contact with the U.S. Marshall’s attempting to locate Mr. Worrell and ensure his

health, given his worsening condition.

       All efforts were made to comply with the Court’s Minute Order, but exigent circumstances

required Counsel for Mr. Worrell to make substantive revisions to reflect the circumstances as they

were known to be prior to filing. As a result of these changes, Mr. Worrell failed to comply with

the noon deadline set in the Minute Order on April 1. Counsel for Mr. Worrell again apologizes

for the its failure to comply with the Minute Order, but believed it necessary to supply the Court

with correct and accurate information at the time of the filing.
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Dated: April 5, 2021               Respectfully Submitted,


                                   /s/ John M. Pierce
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